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                                                                                       CERTIFIED FROM THE RECORD


                                   UNITED STATES JUDICIAL PANEL                                10/20/2021
                                                on                                           Joshua C. Lewis
                                    MULTIDISTRICT LITIGATION
                                                                                            Sarah M. Sewall
                                                                                                Deputy Clerk



IN RE: PHILIPS RECALLED CPAP, BI−LEVEL PAP,
AND MECHANICAL VENTILATOR PRODUCTS
LIABILITY LITIGATION                                                                             MDL No. 3014



                                       (SEE ATTACHED SCHEDULE)



                             CONDITIONAL TRANSFER ORDER (CTO −1)



On October 8, 2021, the Panel transferred 10 civil action(s) to the United States District Court for the
Western District of Pennsylvania for coordinated or consolidated pretrial proceedings pursuant to 28 U.S.C. §
1407. See _F.Supp.3d_ (J.P.M.L. 2021). Since that time, no additional action(s) have been transferred to the
Western District of Pennsylvania. With the consent of that court, all such actions have been assigned to the
Honorable Joy Flowers Conti.

It appears that the action(s) on this conditional transfer order involve questions of fact that are common to the
actions previously transferred to the Western District of Pennsylvania and assigned to Judge Conti.

Pursuant to Rule 7.1 of the Rules of Procedure of the United States Judicial Panel on Multidistrict Litigation,
the action(s) on the attached schedule are transferred under 28 U.S.C. § 1407 to the Western District of
Pennsylvania for the reasons stated in the order of October 8, 2021, and, with the consent of that court,
assigned to the Honorable Joy Flowers Conti.

This order does not become effective until it is filed in the Office of the Clerk of the United States District
Court for the Western District of Pennsylvania. The transmittal of this order to said Clerk shall be stayed 7
days from the entry thereof. If any party files a notice of opposition with the Clerk of the Panel within this
7−day period, the stay will be continued until further order of the Panel.



                                                           FOR THE PANEL:


                Oct 20, 2021
                                                           John W. Nichols
                                                           Clerk of the Panel
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IN RE: PHILIPS RECALLED CPAP, BI−LEVEL PAP,
AND MECHANICAL VENTILATOR PRODUCTS
LIABILITY LITIGATION                                                             MDL No. 3014



                     SCHEDULE CTO−1 − TAG−ALONG ACTIONS



  DIST     DIV.       C.A.NO.     CASE CAPTION


ALABAMA NORTHERN

  ALN        2        21−01009    Davis v. Koninklijke Philips N.V. et al
  ALN        2        21−01010    Davis v. Koninkelijke Philips NV et al
  ALN        5        21−01085    Ballenger v. Koninklijke Philips NV et al

ALABAMA SOUTHERN

  ALS        1        21−00410    Summer v. Koninklijke Philips N.V. et al

ARKANSAS EASTERN

  ARE        4        21−00740    Landers v. Philips North America LLC et al

CALIFORNIA CENTRAL

  CAC        2        21−05793    Lisa Mitrovich v. Koninklijke Philips N.V. et al
  CAC        2        21−07629    Edi Jaen v. Koninklijke Philips N.V. et al
  CAC        2        21−07651    Steven Kipnis v. Koninklijke Philips N.V. et al
  CAC        2        21−07673    Quivandra Lawson v. Koninklijke Philips N.V. et al
  CAC        2        21−07729    Josie Serna−Delgado v. Koninklijke Philips N.V. et al
  CAC        5        21−01636    Dale Cochran v. Koninklijke Philips, N.V. et al

CALIFORNIA NORTHERN

  CAN        3        21−06300    Bastasch et al v. Koninklijke Philips N.V. et al
  CAN        3        21−07580    Hurth v. Koninklijke Philips N.V. et al
  CAN        3        21−07582    Jaquette v. Koninklijke Philips N.V. et al

COLORADO

   CO        1        21−02555    Saunders v. Koninklijke Philips NV et al

GEORGIA MIDDLE

  GAM        1        21−00134    SIZEMORE et al v. KONINKLIJKE PHILIPS N V et al
  GAM        1        21−00177    POWELL v. KONINKLIJKE PHILIPS N V et al
  GAM        5        21−00318    BROOKS v. KONINKLIJKE PHILIPS N V et al
  GAM        7        21−00111    ROGERS et al v. KONINKLIJKE PHILIPS N V et al
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GEORGIA NORTHERN

  GAN        1       21−03621       Kolodin v. Koninklijke Philips N.V. et al
  GAN        1       21−04016       Mercure et al v. Koninklijke Philips N.V. et al

GEORGIA SOUTHERN

  GAS        1       21−00131       Norman v. Koninklijke Philips N.V. et al
  GAS        4       21−00280       Drake v. Philips et al

INDIANA NORTHERN

  INN        3       21−00652       Lowry et al v. Philips North America, LLC et al

INDIANA SOUTHERN

  INS        1       21−02454       HILL et al v. KONINKLIJKE PHILIPS N.V. et al

KANSAS

   KS        2       21−02396       Thomas v. Koninklijke Philips N.V. et al
   KS        2       21−02405       Scheibel v. Koninklijke Philips N.V. et al
   KS        2       21−02426       Hunter−Blank v. Philips North America LLC et al

KENTUCKY WESTERN

  KYW        3       21−00485       Graham et al v. Respironics, Inc. et al Opposed 10/20/21

LOUISIANA EASTERN

  LAE        2       21−01355       Stewart v. Koninklijke Philips N.V. et al
  LAE        2       21−01472       Walker v. Koninklijke Philips N.V. et al
  LAE        2       21−01769       Cannata v. Koninklijke Philips N.V et al
  LAE        2       21−01770       Freeman v. Koninklijke Philips N.V. et al
  LAE        2       21−01805       Cantrelle et al v. Koninklijke Philips N.V. et al

LOUISIANA MIDDLE

  LAM        3       21−00438       Brown v. Fulton

LOUISIANA WESTERN

  LAW        6       21−03045       Hebert et al v. Koninklijke Philips N V et al
  LAW        6       21−03373       Connolly v. Koninklijke Philips N V et al
  LAW        6       21−03438       Polidore v. Koninklijke Philips N V et al
  LAW        6       21−03447       Ortego v. Koninklijke Philips N V et al

MARYLAND

  MD         1       21−02503       Yu v. Koninklijke Philips N.V. et al

MASSACHUSETTS

  MA         1       21−11130       Hufnus et al v. Koninklijke Philips N.V. et al
  MA         1       21−11132       Ramirez v. Philips North America, LLC et al
  MA         1       21−11142       Swann v. Koninklijke Philips N.V. et al
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  MA           1       21−11150    Algofi et al v. Koninklijke Philips N.V. et al
  MA           1       21−11153    McGuire v. Philips North America, LLC et al
  MA           1       21−11199    Osman et al v. Koninklijke Philips N.V. et al
  MA           1       21−11206    Bartley et al v. Koninklijke Philips N.V. et al
  MA           1       21−11208    Basemore et al v. Koninklijke Philips N.V. et al
  MA           1       21−11221    Feick v. Koninklijke Philips N.V. et al
  MA           1       21−11232    Dedman v. Philips North America LLC et al
  MA           1       21−11239    Martin v. Philips North America LLC et al
  MA           1       21−11265    Allison v. Philips North America LLC
  MA           1       21−11328    Conley et al v. Koninklijke Philips N.V. et al
  MA           1       21−11361    Adkins et al v. Koninklijke Philips N.V. et al
  MA           1       21−11432    Bain et al v. Koninklijke Philips N.V. et al
  MA           1       21−11500    McKinney v. Koninklijke Philips N.V. et al
  MA           1       21−11518    DiMaggio v. Koninkelijke Philips, N.V. et al
  MA           1       21−11557    Petersen v. Koninkelijke Philips, N.V. et al
  MA           1       21−11560    COLUMBUS v. Koninklijke Philips N.V. et al
  MA           1       21−11563    Minder et al v. Koninklijke Philips N.V. et al
  MA           1       21−11598    Murray v. Koninklijke Philips N.V. et al

MINNESOTA

  MN           0       21−01916    Means v. Koninklijke Philips N.V. et al

MISSISSIPPI SOUTHERN

  MSS          2       21−00113    Hancock v. Koninklijke Philips N.V. et al

MISSOURI WESTERN

  MOW          2       21−04173    Bemiss et al v. Koninklijke Philips N.V. et al
  MOW          4       21−00627    James v. Koninklijke Philips N.V. et al
  MOW          4       21−00683    King v. Koninklijke Philips N.V. et al
  MOW          4       21−00684    Holmes v. Koninklijke Philips N.V. et al

NEW JERSEY

   NJ          1       21−16582    DANSKY v. KONINKLIJKE PHILIPS, N.V. et al
                                   HOOD−PENDERGHEST et al v. PHILIPS NORTH
   NJ          1       21−17401    AMERICA LLC et al

NEW YORK SOUTHERN

  NYS          7       21−07613    Bowman v. Koninklijke Philips N.V. et al

OHIO SOUTHERN

  OHS          2       21−04860    Cornwell v. Philips North America, LLC et al

OREGON

   OR          3       21−01174    Miller et al v. Koninklijke Philips N.V. et al

PENNSYLVANIA EASTERN

  PAE          2       21−03412    POWELL, SR. v. KONINKLIJKE PHILIS N.V.
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  PAE       2       21−04213    Rosner et al v. Philips RS North America LLC et al

TENNESSEE EASTERN

  TNE       2       21−00136    Moore v. Koninklijke Philips, N.V. et al

TEXAS WESTERN

  TXW       1       21−00835    Wheeler v. Philips North America LLC et al
  TXW       3       21−00230    Chavez v. Koninklijke Philips N.V. et al
  TXW       5       21−00921    Tobin v. Koninkelijke Philips, N.V. et al

VIRGINIA EASTERN

  VAE       2       21−00519    Savage v. Koninklijke Philips, N.V., et al.
  VAE       3       21−00526    Van Horn v. Philips North America, LLC et al

WEST VIRGINIA SOUTHERN

  WVS       2       21−00481    Haddix et al v. Koninklijke Philips N.V. et al
  WVS       3       21−00512    Rucker v. Koninklijke Philips N.V. et al
  WVS       3       21−00527    Parker v. Koninklijke Philips N.V. et al
  WVS       5       21−00428    Farmer v. Koninklijke Philips N.V. et al
